                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                      DOCKET NO. 3:20cr435

             V.                                                    ORDER

IZZAT FREITEKH (1)
TARIK FREITEKH (2)
______________________________________________________________________________

This MATTER is before the court upon the Defendants (Doc# 62 & 63) Motion to Continue
from JANUARY 3, 2022 to the next term of court.

The court finds the ends of justice served by taking such action outweighs the interest of the
public and Defendant to a speedy trial as set forth in 18 U.S.C. 3161(h)(8)(1).

IT IS THEREFORE ORDERED that this trial be scheduled for the next term of court.

The Clerk is directed to certify copies of this order to Defendant, Counsel for Defendant, to the
United States Attorney, the United States Marshals Service, and the United States Probation
Office.

IT IS SO ORDERED.

                                        Signed: November 8, 2021




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